Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 1 of 15 Page ID #:456




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

   Case No.       CV 20-3716-DMG (MAAx)                                             Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                         Page     1 of 15

   Present: The Honorable          DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                  KANE TIEN                                                         NOT REPORTED
                  Deputy Clerk                                                       Court Reporter

       Attorneys Present for Plaintiff(s)                                 Attorneys Present for Defendant(s)
                None Present                                                        None Present

   Proceedings: IN CHAMBERS—ORDER RE DEFENDANT’S MOTION TO DISMISS
                [17]

           On April 23, 2020, Plaintiff Jeff Dunham, individually and as trustee of The Jeff Dunham
   Trust (“the Trust”), filed a Complaint against Defendants oosShirts, Inc. doing business as
   Teechip and Teechili (“ooShirts”), Raymond Lei, and Doe Defendants 1-50, alleging the
   following claims: (1) copyright infringement, (2) trademark and trade dress infringement and
   counterfeiting, (3) trademark and trade dress dilution, (4) false designation of origin, (5) unfair
   competition, (6) contributory copyright infringement, (7) contributory trademark and trade dress
   infringement and counterfeiting, (8) vicarious copyright infringement, (9) vicarious trademark
   and trade dress infringement and counterfeiting, (10) violation of California Civil Code section
   3344, and (11) common law misappropriation of the right of publicity. [Doc. # 1.] On July 6,
   2019, Defendants filed a Motion to Dismiss (“MTD”) all of Dunham’s claims. [Doc. # 17.] The
   MTD is fully briefed. [Doc. # 20 (“Opp.”), # 21 (“Reply”)].

         For the reasons set forth below, the Court GRANTS in part and DENIES in part
   Defendants’ motion.

                                            II.
                           FACTUAL AND PROCEDURAL BACKGROUND1

          Dunham is a celebrity ventriloquist and a comedian who has millions of social media
   followers and has sold tens of millions of copies of his stand-up comedy specials. Compl. at
   ¶¶ 20-21. Defendant ooShirts is a corporation that operates online platforms, including

             1
               The Court assumes the truth of Dunham’s factual allegations in the Complaint solely for the purpose of
   deciding the MTD. But Defendants’ MTD improperly relies on facts not alleged in or attached to the Complaint.
   See MTD at 10 (describing its terms of use and other policies). Defendants do not argue that those facts are subject
   to judicial notice under Federal Rule of Evidence 201, and the Court concludes that they are not. Because to rely on
   those facts would convert the instant MTD into a premature motion for summary judgment under Rule 56, the Court
   does not rely on Defendants’ additional facts in resolving this motion.

   CV-90                                   CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 2 of 15 Page ID #:457




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.    CV 20-3716-DMG (MAAx)                                    Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                            Page     2 of 15

   www.teechip.com and www.teechili.com, which offer for sale a variety of consumer products.
   Id. at ¶ 32. Customers may place an order for an item on ooShirts’ websites, then ooShirts
   manufactures and ships the ordered item. Id. at ¶¶ 33-34. At least some of the designs on
   ooShirts’ websites are designed and uploaded by third parties, who then pay ooShirts a
   percentage of every sale of their design. Id. at ¶ 100. Lei directly owns and/or operates ooShirts,
   www.teechip.com, and www.teechili.com. Id. at ¶¶ 10-11.

           Dunham is best-known for utilizing distinctive, recurring characters in his comedy
   specials, including “Achmed,” “Bubba J,” “Jose Jalapeno on a Stick,” “Peanut,” and “Walter.”
   Compl. at ¶¶ 22-26. Dunham registered a copyright in each of these characters (the “Dunham
   Copyrights”), as well as trademarks for his likeness and the characters on merchandise such as
   clothing, blanket throws, and dolls (the “Dunham Trademarks”), and assigned those rights to the
   Trust, of which he is the Trustee. Compl. at ¶¶ 27-28; id., Ex. A [Doc. # 1-1], B [Doc. # 1-2].
   The characters’ appearance also includes protectable trade dress (the “Dunham Trade Dress”),
   which is owned by Dunham. Id. at ¶ 30. For over a decade, Dunham has marketed and sold
   merchandise such as t-shirts and other apparel incorporating the Dunham Copyrights, Dunham
   Trademarks, and Dunham Trade Dress (together, the “Dunham Intellectual Property”) on his
   website, at retail stores, and at his live shows. Id. at ¶¶ 25-26, 31.

           OoShirts has sold and is selling merchandise, such as t-shirts, sweatshirts, mugs, bags,
   and posters, featuring Dunham’s Intellectual Property, without his permission. Compl., Ex. C-1
   [Doc. # 1-3], C-2 [Doc. # 1-4], D [Doc. # 1-5]. Many of the products sold on ooShirts’ websites
   use exact replicas of Dunham Intellectual Property. Id. at ¶ 36. Merchandise sold on the sites
   includes COVID-19 face masks featuring Dunham’s characters, which has “led fans of the
   Plaintiff to ask him whether he was improperly trying to profit off of the COVID-19 pandemic
   by selling these COVID-19 products.” Id. at ¶¶ 2, 6, 42. OoShirts has also utilized advertising
   featuring the Dunham Intellectual Property. Compl. at ¶¶ 36-38’; id., Ex. C Part 1 [Doc. # 1-3 at
   14]. One of ooShirts’ sites, teechili.com, has an entire section of the site specifically marketing
   “Jeff Dunham” products under a header displaying his name and depicting him sitting on a couch
   with his characters. Id. at ¶¶ 37, 40. The products on the “Jeff Dunham” storefront are listed as
   being “From Jeff Dunham.” See, e.g., id. Ex. C Part 1 [Doc. # 1-3 at 88].

           Dunham has sent Digital Millennium Copyright Act (“DMCA”) notices to Defendants on
   multiple occasions over the past two years, asking for merchandise that allegedly infringes the
   Dunham Intellectual Property to be removed. Id. at ¶¶ 3, 90. Although some allegedly
   infringing merchandise has been removed, the same merchandise continues to be put back on
   ooShirts’ sites, in addition to new infringing products, in what Dunham describes as a years-long
   game of “whack-a-mole.” Id.

   CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 3 of 15 Page ID #:458




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 20-3716-DMG (MAAx)                                            Date       June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                         Page      3 of 15

          Dunham now seeks injunctive relief, damages, and disgorgement of profits based on 11
   causes of action. Id. at 32.2

                                                     III.
                                               LEGAL STANDARD

   A.      Federal Rule of Civil Procedure 8

           Federal Rule of Civil Procedure 8(a)(2) requires that a complaint contain, among other
   things, a “short and plain statement of the claim showing that the pleader is entitled to relief.”
   Fed. R. Civ. P. 8(a)(2). “[T]he pleading standard Rule 8 announces does not require ‘detailed
   factual allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-harmed-
   me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Additionally, a litigant violates
   Rule 8 where “the very prolixity of the complaint [makes] it difficult to determine just what
   circumstances were supposed to have given rise to the various causes of action.” McHenry v.
   Renne, 84 F.3d 1172, 1178 (9th Cir. 1996). A claim may be dismissed for a violation of the Rule
   8 “short and plain statement” requirement independent of Rule 12(b)(6). See Knapp v. Hogan,
   738 F.3d 1106, 1109 (9th Cir. 2013).

   B.      Federal Rule of Civil Procedure 12(b)(6)

          Under Rule 12(b)(6), a defendant may seek to dismiss a complaint for failure to state a
   claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). To survive a Rule 12(b)(6)
   motion, a complaint must articulate “enough facts to state a claim to relief that is plausible on its
   face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although a pleading need not
   contain “detailed factual allegations,” it must contain “more than labels and conclusions” or “a
   formulaic recitation of the elements of a cause of action.” Id. at 555 (citing Papasan v. Allain,
   478 U.S. 265, 286 (1986)). “A claim has facial plausibility when the plaintiff pleads factual
   content that allows the court to draw the reasonable inference that the defendant is liable for the
   misconduct alleged.” Iqbal, 556 U.S. at 678. In evaluating the sufficiency of a complaint, courts
   must accept all factual allegations as true. Id. (citing Twombly, 550 U.S. at 555). Legal
   conclusions, in contrast, are not entitled to the assumption of truth. Id.

            Should a court dismiss certain claims, “[l]eave to amend should be granted unless the
   district court ‘determines that the pleading could not possibly be cured by the allegation of other



           2
               All page references herein are to page numbers inserted by the CM/ECF system.

   CV-90                                    CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 4 of 15 Page ID #:459




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

   Case No.      CV 20-3716-DMG (MAAx)                                            Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                      Page     4 of 15

   facts.’” Knappenberger v. City of Phoenix, 566 F.3d 936, 942 (9th Cir. 2009) (quoting Lopez v.
   Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc)).

                                                      IV.
                                                  DISCUSSION

           Defendants set forth several grounds for dismissal.3        First, they argue that all of
   Dunham’s claims should be dismissed because his Complaint fails to comply with Federal Rule
   of Civil Procedure 8 by not sufficiently differentiating between Defendants ooShirts, Lei, and the
   50 Doe Defendants. MTD at 9. Defendants also argue for dismissal of each claim as a matter of
   law. Id.

   A.      Rule 8 and Defendant Lei’s Liability

          “The theory of Rule 8(a), and of the federal rules in general, is notice pleading.” Starr v.
   Baca, 652 F.3d 1202, 1212 (9th Cir. 2011). Thus, “a complaint is required only to give the
   notice of the claim such that the opposing party may defend himself or herself effectively.” Id.
   Where “all defendants are lumped together in a single, broad allegation,” the Rule 8 notice
   requirement is not satisfied. Gauvin v. Trombatore, 682 F. Supp. 1067, 1071 (N.D. Cal. 1988).
   This does not mean, however, that “a plaintiff’s assertion of claims against ‘Defendants’ will
   automatically be deficient.” Adobe Sys. Inc. v. Blue Source Grp., Inc., 125 F. Supp. 3d 945, 964
   (N.D. Cal. 2015).

           Construing the pleadings in the light most favorable to Dunham, the Court concludes that
   the Complaint gives sufficient notice to ooShirts and Lei that the allegations against
   “Defendants” are against both of them. Dunham alleges that Lei is the owner and/or alter ego of
   ooShirts, and that all infringement, unfair competition, misappropriation, and other wrongful
   activity took place on the websites run by ooShirts, including www.teechip.com, and
   www.teechili.com. Compl. at ¶¶ 10-11, 32-37. The Complaint also describes the fictitiously
   named Doe Defendants as other individuals or corporations involved in the alleged copyright,
   trademark, and other claims at issue. Id. at ¶¶ 12-14. Like in Adobe, the “gravamen of
   [Plaintiff’s] allegations in the instant lawsuit are that all the Defendants infringed on [Plaintiff’s]
   trademarks and copyrights,” and, except as discussed in more detail below, the allegations are

           3
             Dunham argues that the motion should be dismissed for lack of compliance with Rule 7-3. See Opp. at
   10. The parties disagree as to whether their conference on June 15, 2020, covered “the substance of the
   contemplated motion and any potential resolution.” C.D. Cal. L.R. 7-3. Because the MTD is fully briefed and it
   appears no prejudice would result from considering the MTD, the Court exercises its discretion to consider
   Defendants’ motion. Any future violations of the Local Rules, however, may result in the imposition of sanctions.

   CV-90                                  CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 5 of 15 Page ID #:460




                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                       Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                Page     5 of 15

   specific enough to provide notice as to what conduct is at issue. Adobe, 125 F. Supp. 3d at 965.
   The Complaint thus generally satisfies the low bar of Rule 8.

            As for Lei’s personal liability, the Complaint sets forth sufficient facts that Lei “directly
   owned, controlled, dominated, used, managed and/or operated ooShirts, www.teechip.com, and
   www.teechili.com” and therefore may be held liable for the corporation’s copyright and
   trademark infringement. Compl. at ¶ 11; see Comm. for Idaho’s High Desert, Inc. v. Yost, 92
   F.3d 814, 823 (9th Cir. 1996) (holding that a corporate officer is liable for acts of trademark
   infringement and unfair trade practices committed by him, although for the benefit of the
   corporation); DISH Network L.L.C. v. Jadoo TV, Inc., No. 20-CV-01891-CRB, 2020 WL
   5816579, at *4 (N.D. Cal. Sept. 30, 2020) (applying the Yost rule to corporate officer liability for
   copyright infringement). Thus, although the Complaint does not sufficiently allege alter ego
   liability, the allegations regarding Lei’s control over ooShirts and participation in its infringing
   activities suffice to state grounds for Lei’s personal liability. See Mophie, Inc. v. Shah, No. SA
   CV 13-01321-DMG (JEMx), 2014 WL 10988339, at *2 (C.D. Cal. July 24, 2014) (finding
   similar allegations of corporate ownership sufficient to allege that the owner was the “moving
   force” behind infringing activities).

          Thus, although the Complaint fails to state facts to support alter ego liability, Defendant
   Lei’s MTD on the ground of lack of personal liability is DENIED.4

   B.      Claim 1: Direct Copyright Infringement

          Dunham’s first claim is for direct copyright infringement under the Copyright Act, 17
   U.S.C § 101 et seq. Compl. at ¶¶ 43-52. A claim for copyright infringement must state:
   (1) ownership of a valid copyright, and (2) violation by the alleged infringer of at least one of the
   exclusive rights granted to copyright owners under the Copyright Act. 17 U.S.C. § 501(a); UMG
   Recordings, Inc. v. Augusto, 628 F.3d 1175, 1178 (9th Cir. 2011).

           Dunham’s Trust claims ownership of the Dunham Copyrights and provided certificates of
   registration. Compl., Ex. A-B [Docs. ## 1-1, 1-2.] These certificates serve as prima facie
   evidence of a valid copyright, and Defendants do not contest their validity. See 17 U.S.C. §
   410(c).

          Dunham also sufficiently alleges the second prong of copyright infringement by alleging
   that Defendants are “creating, manufacturing, and distributing large quantities of counterfeit
           4
             Pursuant to Local Rule 19-1, no more than ten Doe or fictitiously named parties are permitted.
   Accordingly, Doe Defendants 11 through 50 are DISMISSED.

   CV-90                               CIVIL MINUTES—GENERAL                       Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 6 of 15 Page ID #:461




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                     Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                              Page     6 of 15

   Dunham clothing and printed material,” and that they specifically “manufacture the product, ship
   it to the customer, process the payment, and retain profits from the sale.” Compl. at ¶¶ 32-33.
   Defendants argue that they cannot be held liable for direct copyright infringement because they
   “cannot be considered the most significant and important cause of the copy, as it is the third
   party users who took the crucial initial step of[] uploading the allegedly infringing content and
   designing the purportedly infringing goods.” MTD at 18 (alterations, citation, and internal
   quotation marks omitted). Defendants rely primarily on Fox Broad. Co., Inc. v. Dish Network
   L.L.C., 747 F.3d 1060 (9th Cir. 2014), in which the Ninth Circuit held that a direct copyright
   infringement claim was unlikely to succeed against the creator of a digital video recorder
   (“DVR”) program because third-party users of the DVR program, not the creator of the program,
   were in fact responsible for copying a television network’s programming. Id. at 1067-68. The
   Ninth Circuit noted, however, that “one’s contribution to the creation of an infringing copy may
   be so great that it warrants holding that party directly liable for the infringement, even though
   another party has actually made the copy.” Id. (quoting Cartoon Network LP v. CSC Holdings,
   Inc. (“Cablevision”), 536 F.3d 121 (2d Cir. 2008)). The key is whether a plaintiff can show
   causation, or “volitional conduct” by the defendant showing that it “exercised control (other than
   by general operation of [its website]); selected any material for upload, download, transmission,
   or storage; or instigated any copying, storage, or distribution.” Perfect 10, Inc. v. Giganews,
   Inc., 847 F.3d 657, 670 (9th Cir. 2017). Viewing the Complaint in the light most favorable to
   Dunham, the Court concludes that he has sufficiently pled that Defendants have exercised
   control over the copying, storage, and distribution of Dunham’s copyrighted works by
   manufacturing, marketing, and selling the items. See Compl. at ¶¶ 35-36, 45; see also Atari
   Interactive, Inc. v. Redbubble, Inc., No. 18-CV-03451-JST, 2021 WL 706790, at *15 (N.D. Cal.
   Jan. 28, 2021) (holding that a reasonable jury could find an online retailer liable for direct
   copyright infringement by facilitating the sale of infringing items designed by third-party artists).

           Defendant’s MTD with respect to the direct copyright infringement claim is DENIED.

   C.      Claims 2 and 4: Direct Trademark Infringement, Trade Dress Infringement,
           Counterfeiting, and False Designation of Origin

           Dunham’s second claim is for trademark and trade dress infringement and counterfeiting
   under 15 U.S.C. section 1114, and his fourth claim is for false designation of origin under 15
   U.S.C. section 1125. Compl. at ¶¶ 53-63, 73-83. To state a claim for trademark infringement, a
   plaintiff must show (1) a valid trademark and (2) likely confusion from the defendant’s use of
   that trademark. See Brookfield Commc’ns, Inc. v. West Coast Entm’t Corp., 174 F.3d 1036,
   1046 (9th Cir. 1999). A claim for false designation of origin and counterfeiting under the
   Lanham Act requires proof of the same elements as a claim for trademark infringement. See

   CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 7 of 15 Page ID #:462




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.    CV 20-3716-DMG (MAAx)                                    Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                            Page     7 of 15

   Brookfield Commc'ns, Inc. v. W. Coast Entm't Corp., 174 F.3d 1036, 1046 n.6 (9th Cir. 1999);
   Philip Morris USA Inc. v. Liu, 489 F. Supp. 2d 1119, 1122 (C.D. Cal. 2007). Registration of a
   mark is prima facie evidence of the validity of the registered mark. Id. at 1047. Defendants’
   “use” must be “in connection with the sale, offering for sale, distribution, or advertising of any
   goods or services.” 15 U.S.C. § 1114(1)(a).
         Dunham has demonstrated ownership of the Dunham Trademarks and Trade Dress, and
   Defendants do not contest the validity of the Dunham Trademarks or Trade Dress. Compl., Ex.
   A-B.

           To determine whether a likelihood of confusion exists between the original trademark
   and the allegedly infringing product, courts apply eight factors. GoTo.Com, Inc. v. Walt Disney
   Co., 202 F.3d 1199, 1204 (9th Cir. 2000); see also AMF Inc. v. Sleekcraft Boats, 599 F.2d 341,
   348-49 (9th Cir. 1979). “The eight factors are: (1) strength of the mark; (2) proximity of the
   goods; (3) similarity of the marks; (4) evidence of actual confusion; (5) marketing channels used;
   (6) type of goods and the degree of care likely to be exercised by the purchaser; (7) defendant’s
   intent in selecting the mark; and (8) likelihood of expansion of the product lines.” Rearden LLC
   v. Rearden Commerce, Inc., 683 F.3d 1190, 1209 (9th Cir. 2012). These factors “are intended as
   an adaptable proxy for consumer confusion, not a rote checklist.” Network Automation, Inc. v.
   Advanced Sys. Concepts, Inc., 638 F.3d 1137, 1145 (9th Cir. 2011). “[S]ome factors—such as
   the similarity of the marks and whether the two companies are direct competitors—will always
   be important,” but the relative importance of each individual factor will be case-specific.
   Brookfield, 174 F.3d at 1054; see also Network Automation, 638 F.3d at 1149 (stating that “each
   factor [is assigned] appropriate weight in accordance with its relevance to the factual
   circumstances presented”).

           Here, a majority of Sleekcraft factors weigh in favor of finding a likelihood of confusion.
   Dunham has alleged actual confusion among consumers. His fans have seen his marks on
   COVID-19 facemasks on Defendant’s websites and inquired “whether he was improperly trying
   to profit off of the COVID-19 pandemic by selling these COVID-19 products.” Compl. at ¶ 2.
   His marks are also strong—meaning more likely to be remembered and associated in the public
   mind with the mark's owner—given Dunham’s degree of fame and his characters’
   distinctiveness. Id. at ¶¶ 20-24, 65; see Network Automation, 638 F.3d at 1149. Because
   Dunham also sold t-shirts and other consumer products bearing his marks on the internet,
   Defendants’ use of the marks is proximate to Dunham’s, and the marketing channels are the
   same. See Compl. at ¶ 31, Ex. C-D; Rearden LLC, 683 F.3d at 1212. Finally, the marks used on
   Defendants’ products are similar to Dunham’s or, in many circumstances, even identical. See
   Compl. at ¶ 57.


   CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 8 of 15 Page ID #:463




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                     CIVIL MINUTES—GENERAL

   Case No.      CV 20-3716-DMG (MAAx)                                            Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                      Page     8 of 15

           Defendants argue that ooShirts is a mere marketplace operator and does not “use”
   Dunham’s marks in commerce. See Tiffany (NJ) Inc. v. eBay, Inc., 600 F.3d 93, 102-03 (2d Cir.
   2010) (holding that trademark law “does not prevent one who trades a branded product from
   accurately describing it by its brand name, so long as the trader does not create confusion by
   implying an affiliation with the owner of the product”). In Tiffany, the Second Circuit held that
   eBay did not infringe on Tiffany’s trademark by not verifying the authenticity of the products
   sold, so long as the online marketplace removed counterfeit products once it became aware of
   them. Id. at 103. Although Defendants have previously taken down infringing products
   identified by Dunham, the analogies to Tiffany end there. Compl. at ¶¶ 3, 90, 95. Unlike
   ooShirts, eBay did not manufacture and advertise allegedly counterfeit products, but merely
   provided a platform for third parties to sell them. Id. at ¶¶ 35-36; Tiffany, 600 F.3d at 103. By
   contrast, Defendants not only allegedly manufactured the products, but also used Dunham’s
   trademarked likeness and characters to establish a standalone “Jeff Dunham” storefront on
   www.teechili.com to advertise infringing products. By alleging that Defendants “used the
   mark[s] in connection with selling or advertising” ooShirts’ services, Dunham has sufficiently
   pled the third element of direct trademark and trade dress infringement and false designation of
   origin claims. Cf. Lopez v. Bonanza.com, Inc., No. 17 CIV. 8493 (LAP), 2019 WL 5199431, at
   *9–10 (S.D.N.Y. Sept. 30, 2019) (citation omitted) (finding an online platform that manufactures
   and prints allegedly infringing products not liable for direct trademark infringement where it did
   not additionally use the marks in connection with selling or advertising its services).5

          The Court therefore DENIES Defendants’ MTD with respect to the claims of direct
   trademark infringement and false designation of origin.

   D.      Claims 6 through 9: Secondary Infringement

           Plaintiff’s sixth through ninth claims are for contributory copyright infringement,
   contributory trademark and trade dress infringement and counterfeiting, vicarious copyright
   infringement, and vicarious trademark and trade dress infringement. Compl. at ¶¶ 89-107.

                    1.      Underlying Direct Infringement by a Third Party

           Defendants move to dismiss Dunham’s claims for secondary copyright and trademark
   infringement because they are dependent on his claims for direct infringement against Doe

           5
               Because the Complaint alleges that Defendants knowingly made use of Dunham’s trademarks in
   connection with the sale, offering for sale, or distribution of goods, statutory damages under 15 U.S.C. section
   1117(c) remain available to Dunham, and the Court DENIES Defendants’ request to strike such damages from his
   prayer for relief. See MTD at 33; see 15 U.S.C. § 1117(c).

   CV-90                                  CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 9 of 15 Page ID #:464




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES—GENERAL

   Case No.       CV 20-3716-DMG (MAAx)                                               Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                          Page     9 of 15

   Defendants. See UMG Recordings, Inc. v. Shelter Cap. Partners LLC, 667 F.3d 1022, 1045 (9th
   Cir. 2011) (noting that secondary liability for copyright infringement does not exist in the
   absence of direct infringement). Dunham has, however, alleged direct infringement by third
   parties “who design and upload infringing designs to [ooShirts’] Websites.” Compl. at ¶¶ 100,
   105. As discussed above, Dunham has established the prima facie validity of the Dunham
   Intellectual Property and his and his Trust’s ownership of such Intellectual Property, and the
   Complaint contains examples of hundreds of commercial uses of his marks allegedly uploaded
   by third parties. He has also provided dozens if not hundreds of examples of the specific
   infringing products allegedly uploaded by third parties. See Compl., Ex. C Part 1, Ex. C Part 2,
   Ex. D. See Fonovisa v. Napster, Inc., No. CV 01-02669, 2002 WL 398676, at *4 (N.D. Cal. Jan.
   28, 2002) (finding sufficient allegations of third party direct infringement based on general
   allegations that users of the defendant’s software uploaded specific protected works to it).
   Dunham sufficiently alleges direct copyright and trademark infringement by third parties.

                     2.       Contributory Copyright Infringement

           The Ninth Circuit defines a contributory infringer as one who “(1) has knowledge of
   another’s infringement and (2) either (a) materially contributes to or (b) induces that
   infringement.” Perfect 10, Inc. v. Visa Int'l Serv. Ass’n, 494 F.3d 788, 795 (9th Cir. 2007). The
   knowledge requirement for contributory infringement is satisfied if the defendant had “actual
   knowledge” or “reason to know of direct infringement.” Ellison v. Robertson, 357 F.3d 1072,
   1076 (9th Cir. 2004).

           Dunham has sufficiently alleged Defendants’ actual knowledge or reason to know of
   direct infringement by third parties based on conduct “which can be equated to a game of
   ‘whack-a-mole’”: Dunham sends DMCA notices to Defendants identifying infringing products
   on ooShirts’ websites, Defendants take those products down, then the same and new products
   using Dunham’s Intellectual Property again become available on the websites. Compl. at ¶¶ 3,
   95. Taking the factual allegations as true, Defendants were aware of specific instances of direct
   copyright infringement and permitted identical infringement to continue, thereby satisfying the
   knowledge requirement.6

            6
              Because this allegation of Defendants’ knowledge precludes the “innocent printer” defense to monetary
   damages under the Lanham Act, the Court DENIES Defendants’ request to strike damages from Dunham’s prayer
   for relief. See K & N Eng'g, Inc. v. Bulat, 259 F. App’x 994, 995 (9th Cir. 2007) (“Because [the defendants]
   advertised and sold decals with [plaintiff’s] marks (rather than advertising and selling printing services), they were
   not engaged solely in the business of printing the mark or violating matter for others, and thus were neither innocent
   infringers nor innocent violators capable of raising the innocent printer defense under 15 U.S.C. § 1114(2)(A).);
   MTD at 32-33.

   CV-90                                    CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 10 of 15 Page ID #:465




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                     Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                              Page     10 of 15

            Dunham has also alleged Defendants’ material contributions to and inducement of
   infringement. Like the company Napster, which provided a platform for users to find and
   download copyrighted music without license, oosShirts provides “the site and facilities” for
   direct infringement by third parties uploading infringing products to its sites and is thereby liable
   for contributory infringement. A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1022 (9th Cir.
   2001). In addition, the Supreme Court has included in the meaning of inducement “active steps
   . . . taken to encourage direct infringement,” including “advertising an infringing use.” Metro-
   Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936 (2005). Defendants’ websites
   utilized advertisements featuring Dunham’s own name and likeness meant to advertise the
   directly infringing products. Id. at ¶¶ 7, 37-38. In addition, the Ninth Circuit has repeatedly held
   that:

           In the online context, . . . a “computer system operator” is liable under a material
           contribution theory of infringement “if it has actual knowledge that specific
           infringing material is available using its system, and can take simple measures to
           prevent further damage to copyrighted works, yet continues to provide access to
           infringing works.”

   VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 745 (9th Cir. 2019) (quoting Giganews, Inc., 847
   F.3d at 671). Here, where one of Defendants’ sites has a unique “Jeff Dunham” storefront and
   specifically advertises goods bearing his Intellectual Property, Dunham has alleged that
   Defendants can take at least one simple measure of removing that storefront to limit access to the
   infringing works.

           The Court DENIES Defendants’ MTD with regard to the contributory copyright
   infringement claim.

                  3.      Contributory Trademark and Trade Dress Infringement

           The tests for secondary trademark infringement are more difficult to satisfy than the tests
   for secondary copyright infringement. Visa, 494 F.3d at 807. “To be liable for contributory
   trademark infringement, a defendant must have (1) intentionally induced the primary infringer to
   infringe, or (2) continued to supply an infringing product to an infringer with knowledge that the
   infringer is mislabeling the particular product supplied.” Id. at 807 (quoting Inwood Labs., Inc.
   v. Ives Labs., Inc., 456 U.S. 844, 855 (1982)). When the plaintiff alleges the second prong of the
   Inwood test, the plaintiff must additionally show “direct control and monitoring of the
   instrumentality used by a third party to infringe the plaintiff's mark” in order to establish
   contributory liability. Id.; see also Lockheed Martin Corp. v. Network Solutions, Inc., 194 F.3d

   CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 11 of 15 Page ID #:466




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                     Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                              Page     11 of 15

   980, 984 (9th Cir. 1999) (the relevant inquiry is “the extent of control exercised by the defendant
   over the third party’s means of infringement”).

           The Complaint satisfies both prongs of the Inwood test. As noted above, Defendants’
   intentional advertisement of infringing products designed by third parties constitutes intentional
   inducement. In addition, Defendants are responsible for manufacturing the allegedly infringing
   products uploaded by third parties, and their websites group together and advertise infringing
   products despite Defendants’ knowledge that at least some of those products infringe Dunham’s
   trademarks. Because Defendants have control over the websites where third parties upload
   allegedly infringing designs and participate in manufacturing the product, Defendants do more
   than just provide the instrumentality by which the third parties’ direct trademark infringement
   occur. See Lockheed Martin Corp., 194 F.3d at 984; cf. Visa, 494 F.3d at 807 (noting that a
   credit card payment network did not infringe trademarks because infringement occurred without
   any involvement of the payment system).

           The Court DENIES Defendants’ MTD with regard to the contributory trademark and
   trade dress infringement claim.

                  4.      Vicarious Copyright Infringement

            To be liable for vicarious copyright infringement, Defendants must have (1) “the right
   and ability to supervise the infringing activity” and (2) “a direct financial interest in such
   activities.” A&M Records, 239 F.3d at 1022 (quoting Gershwin Publ’g Corp. v. Columbia
   Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)). The first prong of supervision requires
   a specific relationship of control between the vicarious infringer and the direct infringer. Perfect
   10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1173 (9th Cir. 2007). The Ninth Circuit has held
   that “a defendant exercises control over a direct infringer when he has both a legal right to stop
   or limit the directly infringing conduct, as well as the practical ability to do so.” Id. In other
   words, while contributory liability is based on “defendant’s failure to stop its own actions which
   facilitate third-party infringement,” vicarious liability is based on “defendant’s failure to cause a
   third party to stop its directly infringing activities.” Id. at 1175.

           The Complaint does not allege enough facts for this claim to survive a motion to dismiss.
   For example, allegations that Defendants “have the legal right to stop or limit the copyright
   infringement on [oosShirts’] Websites and the practical ability to do so” are mere legal
   conclusions. See Compl. at ¶ 101; Amazon.com, 508 F.3d at 1173-74. The Complaint does not
   provide additional facts about the third parties who design and upload infringing designs and the
   nature of Defendants’ relationship with those direct infringers. See Compl. at ¶ 100.

   CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 12 of 15 Page ID #:467




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.    CV 20-3716-DMG (MAAx)                                     Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                             Page     12 of 15

           The Court therefore GRANTS Defendants’ MTD, with leave to amend, with regard to
   the vicarious copyright infringement claim.

                  5.      Vicarious Trademark and Trade Dress Infringement

           Vicarious liability for trademark infringement requires “a finding that the defendant and
   the infringer have an apparent or actual partnership, have authority to bind one another in
   transactions with third parties or exercise joint ownership or control over the infringing product.”
   Visa, 494 F.3d at 807 (citation omitted). Courts have found vicarious trademark infringement
   where a party exerts significant control over the infringing activity. Atari, 2021 WL 706790, at
   *10 (collecting cases). Here, by virtue of Defendants’ control over the manufacture, delivery,
   advertisement, and payment processing for infringing products, the Complaint alleges sufficient
   facts to support a claim that Defendants and the third-party direct infringers exercise joint
   ownership or control over infringing products. See id. (finding similar facts at summary
   judgment sufficient to support a claim of vicarious trademark infringement, but not vicarious
   copyright infringement).

           The Court DENIES Defendants’ MTD as to the vicarious trademark and trade dress
   infringement claim.

   E.      Claim 3: Trademark and Trade Dress Dilution

           Plaintiff’s third claim is for trademark and trade dress dilution under 15 U.S.C. section
   1125(c). “In order to prove [trademark dilution], a plaintiff must show that (1) the mark is
   famous and distinctive; (2) the defendant is making use of the mark in commerce; (3) the
   defendant’s use began after the mark became famous; and (4) the defendant’s use of the mark is
   likely to cause dilution by blurring or dilution by tarnishment.” Jada Toys, Inc. v. Mattel, Inc.,
   518 F.3d 628, 634 (9th Cir. 2008).

          Defendants contest only the fourth element, arguing that Dunham has not adequately
   alleged tarnishment because he has not demonstrated that face masks bearing Dunham
   Trademarks are an “offensive product” or that ooShirts’ products were “inferior.” Reply at 23.
   Whether or not Dunham has sufficiently alleged tarnishment, however, is irrelevant. The
   Complaint specifically alleges that Defendants’ products are “diluting the distinctive quality of
   the famous Dunham Trade Dress and Dunham Trademarks” by “lessen[ing] the capacity of those
   famous marks to identify and distinguish products marketed and sold by Plaintiff and/or his
   authorized licensees under those marks.” Compl. at ¶ 67 (emphasis added). Proof of actual
   customer confusion may establish the existence of a likelihood of dilution. Jada Toys, 518 F.3d

   CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 13 of 15 Page ID #:468




                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                        Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                                 Page     13 of 15

   at 636. Dunham alleges such confusion and dilution when he alleges that “consumers . . .
   believe Dunham is selling the Infringing Products and that he is wrongfully attempting to profit
   from the COVID-19 pandemic (he is not), which is causing material harm to his brand and
   reputation every single day.” Id. at ¶ 42. These allegations are specific enough for the Court to
   draw the reasonable inference that Defendants’ actions impair the distinctiveness and value of
   Dunham’s trademarks and injure his business reputation. See Adobe Sys. Inc. v. Blue Source
   Grp., Inc., 125 F. Supp. 3d 945, 970 (N.D. Cal. 2015).

           The Court therefore DENIES Defendants’ motion to dismiss Plaintiff’s trademark and
   trade dress dilution claims.

   F.      Claim 5: Unfair Competition

           Dunham’s fifth cause of action for “Common Law Unfair Competition” refers to
   violations of California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et
   seq. Compl. at ¶ 84-88. Because common law unfair competition and the UCL impose different
   requirements, this claim does not give sufficient notice of the legal claim against Defendants.
   See Sybersound Recs., Inc. v. UAV Corp., 517 F.3d 1137, 1153 (9th Cir. 2008) (“The common
   law tort of unfair competition is generally thought to be synonymous with the act of ‘passing off’
   one's goods as those of another.”) (quoting Bank of the W. v. Superior Court, 2 Cal. 4th 1254
   (1992)); Cal. Bus. & Prof. Code. § 17200 (“[U]nfair competition shall mean and include any
   unlawful, unfair or fraudulent business act or practice . . . .”). It also fails to “allege with at least
   some degree of particularity overt acts which defendants engaged in” to support plaintiff’s claim.
   Jones v. Cmty. Redev. Agency, 733 F.2d 646, 649 (9th Cir. 1984) (citation omitted). Rather, the
   Complaint incorporates its general factual allegations and states that “Defendants have
   committed acts of unfair competition, proscribed by California Business and Professions Code
   § 17200 et seq., including the practices and conduct referred to above. These actions constitute
   unlawful, unfair, and/or fraudulent business acts or practices.” Id. at ¶ 85. Although Rule 8 does
   not impose a high bar, Dunham neither limits his allegations of unfair competition to the facts
   alleged nor gives Defendants fair notice of the grounds of his claim. Furthermore, if the claim is
   indeed a California UCL claim, Dunham also fails to specify which of the three prongs of the
   UCL Defendants have violated.

           The Court GRANTS Defendants’ MTD with respect to the unfair competition claim,
   with leave to amend.




   CV-90                                CIVIL MINUTES—GENERAL                       Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 14 of 15 Page ID #:469




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.     CV 20-3716-DMG (MAAx)                                    Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                             Page     14 of 15

   G.      Claims 10 and 11: Misappropriation of the Right of Publicity

           Dunham’s tenth and eleventh claims allege violation of common law and statutory rights
   of publicity. Compl. at ¶¶ 28-32. The common law right of publicity may be pleaded by
   alleging: “(1) the defendant's use of the plaintiff's identity; (2) the appropriation of plaintiff's
   name or likeness to defendant's advantage, commercially or otherwise; (3) lack of consent; and
   (4) resulting injury.” Hilton v. Hallmark Cards, 599 F.3d 894, 909 (9th Cir. 2010) (citation
   omitted). In addition, California statute provides:

           Any person who knowingly uses another’s name, voice, signature, photograph, or
           likeness, in any manner, on or in products, merchandise, or goods, or for purposes
           of advertising or selling, or soliciting purchases of, products, merchandise, goods
           or services, without such person’s prior consent . . . shall be liable for any
           damages sustained by the person or persons injured as a result thereof.

   Cal. Civ. Code § 3344.

            Defendants assert that these claims are preempted under the Copyright Act because any
   appropriation of Dunham’s “persona” constitutes thinly disguised copyright claims based on
   Defendants’ alleged use of his copyrighted characters. MTD at 30. The Complaint explicitly
   states, however, that “Defendants have commercially exploited Dunham’s name and likeness in
   connection with their advertisement, marketing, promotion, manufacture, and sale of Infringing
   Products (some of which also exploit Dunham’s name and likeness on the Infringing Product
   itself), without his knowledge and consent.” Compl. at ¶ 37 (emphasis added). The Complaint
   and its Exhibits include photographs depicting Defendants’ use of Dunham’s likeness and name
   in advertising. Id. “[A] publicity-right claim is not preempted when it targets non-
   consensual use of one’s name or likeness on merchandise or in advertising.” Maloney v.
   T3Media, Inc., 853 F.3d 1004, 1011 (9th Cir. 2017). Although Dunham has trademarked his
   name and likeness, the Copyright Act preemption provision does not apply where there are no
   copyrights at issue.

           Defendants also argue that these state law claims are preempted by the Communications
   Decency Act (“CDA”). Under Section 230(c)(1) of the CDA, “[n]o provider or user of an
   interactive computer service shall be treated as the publisher or speaker of any information
   provided by another information content provider.” 47 U.S.C. § 230(c)(1). Section 230’s
   preemption provision further states that “[n]o cause of action may be brought and no liability
   may be imposed under any State or local law that is inconsistent with this section.” 47 U.S.C. §
   230(e)(3). For the CDA to shield a party from liability, the party must be “(1) a provider or user

   CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:20-cv-03716-MEMF-MAA Document 23 Filed 06/07/21 Page 15 of 15 Page ID #:470




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.    CV 20-3716-DMG (MAAx)                                    Date     June 7, 2021

   Title Jeff Dunham v. Raymond Lei, et al.                                            Page     15 of 15

   of an interactive computer service (2) whom a plaintiff seeks to treat, under a state law cause of
   action, as a publisher or speaker (3) of information provided by another information content
   provider.” Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009). “This grant of
   immunity applies only if the interactive computer service provider is not also an ‘information
   content provider,’ which is defined as someone who is ‘responsible, in whole or in part, for the
   creation or development of’ the offending content.” Fair Hous. Council of San Fernando Valley
   v. Roommates.Com, LLC, 521 F.3d 1157, 1162 (9th Cir. 2008) (en banc) (quoting 47 U.S.C. §
   230(f)(3)).

           The Complaint sufficiently alleges that ooShirts itself—not any third party—utilized
   Dunham’s name and likeness without his consent to advertise infringing products. Compl. at
   ¶¶ 36-39. The CDA does not provide immunity for “co-developers” who “materially
   contribut[e] to [the website’s] alleged unlawfulness.” Fair Hous. Council of San Fernando
   Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1167-68 (9th Cir. 2008). On the factual
   allegations in the Complaint, ooShirts is an information service provider that has materially
   contributed to the development of content that misappropriates Dunhams’ right to publicity.

           The Court therefore DENIES Defendants’ MTD Plaintiff’s common law and statutory
   right of publicity claims.

                                               V.
                                           CONCLUSION

         In light of the foregoing, the Court GRANTS in part and DENIES in part Defendants’
   MTD, as follows:

           1. The MTD is GRANTED, with leave to amend, with respect to Dunham’s claims for
              vicarious copyright infringement and unfair competition;
           2. The MTD is DENIED with respect to all other claims and Defendants’ arguments to
              strike certain portions of the prayer for relief; and
           3. Doe Defendants 11-50 are DISMISSED under Local Rule 19-1.

            Dunham shall file his First Amended Complaint (“FAC”), or inform the Court and
   Defendant that he does not intend to amend the Complaint, by June 28, 2021. Defendants shall
   file their response within 21 days after Dunham files and serves his FAC, or they are notified of
   his intent to proceed on the Complaint.

   IT IS SO ORDERED.

   CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
